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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

  NATIONAL WILDLIFE REFUGE ASSOCIATION,
  et al,                                                              No. 3:21-cv-00096-wmc
                   Plaintiffs,

            v.

  RURAL UTILITIES SERVICE, et al.
                    Federal Defendants,

 AMERICAN TRANSMISSION COMPANY, LLC, et al.
                    Intervenor-Defendants.
 ___________________________________

  NATIONAL WILDLIFE REFUGE ASSOCIATION,
  et al,                                                              No. 3:21-cv-000306-wmc
                   Plaintiffs,

            v.

  UNITED STATES ARMY CORPS OF ENGINEERS, et al.,
                   Federal Defendants.

  AMERICAN TRANSMISSION COMPANY, LLC, et al.
                 Intervenor-Defendants.


            DECLARATION OF AMELIA VOHS IN SUPPORT OF OPPOSITION TO
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       I, Amelia Vohs, declare as follows:

       1.        I have personal knowledge of the facts and information stated herein and, if

called as a witness, I could and would testify competently thereto.

       2.        I am employed as an Attorney by the Minnesota Center for Environmental

Advocacy (MCEA), a 501(c)(3) nonprofit organization organized in Minnesota and

headquartered in St. Paul, Minnesota. I am authorized to make this declaration on behalf of

MCEA in opposition to Plaintiffs’ motion for preliminary injunction.


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       3.      MCEA is a non-profit 501(c)(3) environmental organization that works in the

courts, legislature, and state agencies to protect Minnesota’s wildlife, natural resources, and the

health of its people. One of MCEA’s key program areas is its Climate and Energy Program,

which works to promote the transition away from fossil-fuel fired power to carbon-free energy in

order to reduce the threat posed by climate change. Successful construction and operation of

Cardinal-Hickory Creek is a top priority of MCEA’s Climate and Energy Program.

       4.      My work as an Attorney focuses on climate and energy policy and includes

advocating for carbon-free renewable energy. As part of my work, I have participated in

proceedings relating to the Cardinal-Hickory Creek line before the Public Service Commission

of Wisconsin and before the Iowa Utilities Board. I am familiar with the arguments and record

surrounding the project and its environmental impacts.

       5.      Research shows a massive expansion of wind and solar power is needed for the

United States to reduce greenhouse gas emissions from the electric sector and thereby avoid the

worst effects of climate change.1 Demand for electricity is also expected to increase as fossil-fuel

burning cars, furnaces, and water heaters are replaced by cleaner electric cars and appliances.

Thus, wind and solar power are needed not only to replace plants that burn fossil fuels, but also

to increase the overall supply of electricity.2 While distributed renewables will play a role, given

the breadth of the transformation needed, the vast majority of new wind and solar power will

need to be built in large clusters, called “utility-scale renewables.” It is simply not practicable to

make the transition to clean energy using distributed renewables alone given, among other

things, the short timeframe in which this massive transition must take place.



1
  See e.g., National Academies of Sciences, Engineering, and Medicine, Accelerating
Decarbonization of the U.S. Energy System 43 (2021).
2
  Id. at 79.
                                                   2
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          6.     To support the necessary expansion of utility-scale wind and solar power, the

nation’s electric transmission system must be upgraded and expanded—and the need is urgent. A

massive number of new long-distance, high voltage transmission lines must be built this decade

to transmit new utility-scale renewable energy to customers. One study estimated long-distance

transmission capacity must be expanded by about 60 percent by 2030 to connect wind and solar

power to customers who need it.3

          7.     Developers of new large wind and solar plants in the upper-Midwest specifically

are having difficulty interconnecting with the regional grid, because the pace of transmission

expansion has not kept pace with the changing market. The lack of transmission has become a

significant barrier to our clean energy transition, and the need for more transmission is dire.

However, given that it takes 8-15 years to get a large transmission line built, a solution to the

current lack of transmission in the upper Midwest is a long way off.

          8.     This is why the Cardinal-Hickory Creek line is so critically important, and one of

MCEA’s top priorities for advancing the clean energy transition. Its construction is critical to the

expansion of clean energy in Wisconsin, Iowa, Minnesota, and region generally. In turn, this

clean energy expansion will reduce greenhouse gases and other pollutants, help address climate

change, and save consumers money by allowing them to access lower-cost electricity.

          9.     Several gigawatts of wind and solar farms’ ability to construct or operate are

explicitly dependent on Cardinal-Hickory Creek. Some renewable energy projects—like the

Quilt Block Wind Farm in Lafayette County, Wisconsin, are constantly at risk of having to limit

their clean energy output because there is not enough transmission available to accept that




3
    Id. at 80.
                                                  3
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energy. Quilt Block will not be able to consistently operate at its full capacity until Cardinal-

Hickory Creek is built.

        10.       In addition, a number of renewable energy projects are ready to break ground, but

they cannot connect to the grid and provide consumers with that much-needed clean energy until

Cardinal-Hickory Creek is operating. At a time when we must reduce our greenhouse gas

emissions nearly 50% by 2030 to avoid the most catastrophic effects of climate change, it is not

in the public interest to delay or stop any transmission line that so many clean energy projects are

reliant upon.

        11.       For all of these reasons, having Cardinal-Hickory Creek in operation as soon as

possible is critical to the following:

              •   Bolstering the region’s electric infrastructure so it is ready for an influx of new

                  clean energy;

              •   Allowing consumers to access low-cost renewable electricity as soon as possible;

              •   Meeting the urgent need to reduce regional greenhouse gas emissions to address

                  climate change; and

              •   Reducing pollutants from fossil-fuel generators that affect the health of the

                  environment and the physical health of nearby communities expeditiously.

        12.       Slowing progress on this urgently needed project would unquestionably harm

Wisconsin, Iowa, Minnesota, and the Midwest region.

        Pursuant to 28 U.S.C.§ 1746, I declare under penalty of perjury, under the laws of the

United States, that the foregoing is true and correct to the best of my knowledge.




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Executed within the United States on October 18, 2021

                                           By: _________________________________
                                               Amelia Vohs




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2021, I electronically filed the foregoing document

with the Clerk of Court using the Court’s ECF system, which will serve the document on all

counsel of record registered for electronic filing in the above-captioned proceeding.



Dated: October 19, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
